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 1   Ahilan T. Arulanantham (SBN 237841)
     arulanantham@law.ucla.edu
 2   CENTER FOR IMMIGRATION LAW AND
     POLICY, UCLA SCHOOL OF LAW
 3   385 Charles E. Young Dr. East
     Los Angeles, CA 90095
 4   Telephone: (310) 825-1029

 5   Emilou MacLean (SBN 319071)
     emaclean@aclunc.org
 6   Michelle (Minju) Y. Cho (SBN 321939)
     mcho@aclunc.org
 7   Amanda Young (SBN 359753)
     ayoung@aclunc.org
 8   ACLU FOUNDATION
     OF NORTHERN CALIFORNIA
 9   39 Drumm Street
     San Francisco, CA 94111-4805
10   Telephone: (415) 621-2493
     Facsimile: (415) 863-7832
11
     Attorneys for Plaintiffs
12   [Additional Counsel Listed on Next Page]

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14                                UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16                                    SAN FRANCISCO DIVISION

17

18   NATIONAL TPS ALLIANCE, MARIELA                  Case No. 3:25-cv-01766-EMC
     GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
19   M.H., CECILIA DANIELA GONZÁLEZ                  PLAINTIFFS’ REPLY IN SUPPORT OF
     HERRERA, ALBA CECILIA PURICA                    REQUEST FOR EMERGENCY RELIEF IN
20   HERNÁNDEZ, E.R., HENDRINA VIVAS                 LIGHT OF DEFENDANTS’ NON-
     CASTILLO, A.C.A., SHERIKA BLANC, VILES          COMPLIANCE WITH DISCOVERY
21   DORSAINVIL, and G.S.,                           ORDER
22               Plaintiffs,
            vs.
23
     KRISTI NOEM, in her official capacity as
24   Secretary of Homeland Security, UNITED
     STATES DEPARTMENT OF HOMELAND
25   SECURITY, and UNITED STATES OF
     AMERICA,
26
                   Defendants.
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          PLAINTIFFS’ REPLY IN SUPPORT OF REQUEST FOR RELIEF IN LIGHT OF DEFENDANTS’ NON-
                 COMPLIANCE WITH DISCOVERY ORDER – CASE NO. 3:25-CV-01766-EMC
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 1   Additional Counsel for Plaintiffs

 2   Jessica Karp Bansal (SBN 277347)
     jessica@ndlon.org
 3   Lauren Michel Wilfong (Pro Hac Vice)
     lwilfong@ndlon.org
 4   NATIONAL DAY LABORER
     ORGANIZING NETWORK
 5   1030 S. Arroyo Parkway, Suite 106
     Pasadena, CA 91105
 6   Telephone: (626) 214-5689

 7   Eva L. Bitran (SBN 302081)
     ebitran@aclusocal.org
 8   Diana Sanchez (SBN 338871)
     dianasanchez@aclusocal.org
 9   ACLU FOUNDATION
     OF SOUTHERN CALIFORNIA
10   1313 West 8th Street
     Los Angeles, CA 90017
11   Telephone: (213) 977-5236

12   Erik Crew (Pro Hac Vice)
     ecrew@haitianbridge.org
13   HAITIAN BRIDGE ALLIANCE
     4560 Alvarado Canyon Road, 1H
14   San Diego, CA 92120
     Telephone: (949) 603-7411
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           PLAINTIFFS’ REPLY IN SUPPORT OF REQUEST FOR RELIEF IN LIGHT OF DEFENDANTS’ NON-
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 1          Plaintiffs still have no assurance about whether or when Defendants will comply with their

 2   discovery obligations. Quite the opposite. Defendants have not demonstrated reasonable diligence or

 3   transparency. They initially assured Plaintiffs that their May 19th production was complete. After

 4   repeated inquiries, Defendants acknowledged a deficiency on May 22nd, but represented it was

 5   limited to no more than 159 documents. Yesterday, Defendants disclosed for the first time purported

 6   “serious systematic issues” that apparently cut the volume of data collected for certain custodians

 7   roughly in half. Dkt. 153-1 ¶¶ 3–5. As of this filing, Defendants have not advised as to the number of

 8   documents impacted or the estimated date when these materials will be produced.

 9          Equally problematic, yesterday’s declaration concerns a narrow subset of custodians and

10   raises more questions than it answers. Defendants appear to admit (via silence) that they never

11   inquired whether custodians ever used, or gathered documents from, basic repositories essential to a

12   meaningful custodial collection, including: (a) paper documents; (b) laptop/desktop hard drives,

13   (c) personal email accounts, and (d) mobile devices (including messaging applications). 1 No

14   explanation is forthcoming as to why Secretary Noem, Corey Lewandowski, and other important

15   custodians with broad responsibilities, who directly participated in the challenged decisions, are not

16   custodians for a single document or, at most, a handful of documents. See Ex. 1 (updated list of

17   documents produced or logged for each custodian, reflecting today’s supplemental production);

18   Dkt. 132-1 (describing roles and responsibilities of custodians). Nor have Defendants explained how

19   documents can “hit” on the search strings approved by the Court for the narrow time period at issue,

20   yet not be responsive. For instance, out of the 159 documents identified as overlooked last week,

21   Defendants ultimately produced and logged just 54—roughly 34%.

22          To avoid further delays, for each custodian, Defendants should be directed to search for and

23   produce all non-privileged “hits” found among paper files, hard drives, emails, and mobile devices,

24   including messaging apps—whether official or personal, so long as used for official business

25   concerning the challenged decisions—on an expedited timeline. Defendants also should be required

26   1
      Defendants apparently collected from OneDrive, which could account for files on laptops/desktops,
     but only if users synched their laptops/desktops with OneDrive. Defendants have not advised
27   whether these custodians used OneDrive in that fashion. Similarly, Defendants’ collection from
     Teams matters only if these custodians used Teams while logged into official systems. It would not
28   capture messages sent via other applications (such as Signal) on personal or work devices.
                                                      1
           PLAINTIFFS’ REPLY IN SUPPORT OF REQUEST FOR RELIEF IN LIGHT OF DEFENDANTS’ NON-
                    COMPLIANCE WITH DISCOVERY ORDER – CASE NO. 3:25-CV-01766-EMC
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 1   to submit a declaration under penalty of perjury that confirms their compliance with the same, as

 2   well as written responses to RFP Nos. 1, 2, and 6 signed by counsel or a party. Finally, Defendants

 3   should promptly advise as to the number of “hits” still to be reviewed and produced, including so the

 4   Court and Plaintiffs can evaluate how best to proceed in light of the ongoing discovery deficiencies.

 5    Date: May 28, 2025                                   Respectfully submitted,
 6                                                         ACLU FOUNDATION
                                                           OF NORTHERN CALIFORNIA
 7
                                                            /s/ Emilou MacLean
 8                                                         Emilou MacLean
                                                           Michelle (Minju) Y. Cho
 9                                                         Amanda Young
10                                                         Ahilan T. Arulanantham
                                                           CENTER FOR IMMIGRATION LAW AND
11                                                         POLICY, UCLA SCHOOL OF LAW
12                                                         Eva L. Bitran
                                                           Diana Sanchez
13                                                         ACLU FOUNDATION
                                                           OF SOUTHERN CALIFORNIA
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17                                                         Erik Crew (Pro Hac Vice)
                                                           HAITIAN BRIDGE ALLIANCE
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                                                           Attorneys for Plaintiffs
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1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on May 28, 2025, I caused the foregoing to be electronically filed with

3    the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

4    (NEF) to all counsel of record.

5
                                                         ACLU FOUNDATION
6                                                        OF NORTHERN CALIFORNIA
7

8                                                        /s/ Emilou MacLean
                                                         Emilou MacLean
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           PLAINTIFFS’ REPLY IN SUPPORT OF REQUEST FOR RELIEF IN LIGHT OF DEFENDANTS’ NON-
                  COMPLIANCE WITH DISCOVERY ORDER – CASE NO. 3:25-CV-01766-EMC
